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                IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF DELAWARE

  MICHAEL RUBIN, derivatively on             )
  behalf of MATCH GROUP, INC.,               )
                                             )
                     Plaintiffs,             )
                                             )
        v.
                                             )
  JOSEPH M. LEVIN, AMANDA                    )
  GINSBERG, ANN L. MCDANIEL,                 )
  THOMAS J. MCINERNEY, GLENN                 )
  H. SCHIFFMAN, PAMELA S.                    )    C.A. No. 1:20-CV-00299-CFC
  SEYMON, ALAN G. SPOON, MARK                )
  STEIN, GREGG WINIARSKI, and                )
  SHARMISTHA DUBEY,                          )
                                             )
                     Defendants,             )
                                             )
        and                                  )
                                             )
  MATCH GROUP, INC.,                         )
                                             )
                     Nominal Defendant.
                                             )

       STIPULATION AND [PROPOSED] ORDER STAYING CASE

      WHEREAS, on October 3, 2019, a securities class action lawsuit captioned

Crutchfield v. Match Group, Inc., et al., Case No. 3:19-cv-02356-C (the

“Securities Class Action”), was filed in the United States District Court for the

Northern District of Texas (the “Texas Court”) alleging violations of the federal

securities laws against certain defendants named in this derivative action.
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      WHEREAS, the Texas Court has appointed lead plaintiffs and lead counsel

in the Securities Class Action and has ordered lead plaintiffs to file an amended

complaint by April 13, 2020;

      WHEREAS, defendants in the Securities Class Action intend to file a

motion to dismiss on or before June 12, 2020;

      WHEREAS, on February 28, 2020, Michael Rubin filed the instant

shareholder derivative action in the District of Delaware;

      WHEREAS, there is significant overlap between the factual allegations in

this action and in the Securities Class Action; and

      WHEREAS, the parties agree that a stay of this Action pending resolution of

the motions to dismiss the Securities Class Action is appropriate because it will

avoid inefficiencies and duplicative efforts and will better preserve the resources of

the Court and the parties.

      NOW THEREFORE, IT IS HEREBY STIPULATED AND AGREED, by

and among the parties hereto, by their undersigned counsel, subject to approval of

the Court, as follows:

      1.     Defendants are not required to respond to the complaint in this Action.

      2.     Defendants hereby waive service of the complaint and any defense

based upon sufficiency of service of process; provided, however, that Defendants’

agreement to this stipulation and acceptance of service shall not constitute a waiver



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of any other defense of any of the Defendants to the claims in this Action,

including but not limited to defenses based upon lack of personal jurisdiction or

subject matter jurisdiction, lack of standing, improper venue, or a defendant having

been improperly named.

      3.     A temporary stay of this Action pending resolution of any motions to

dismiss in the Securities Class Action is appropriate because it will avoid

inefficiencies and duplicative effort and will better preserve the resources of the

Court and the parties.

      4.     The proceedings in this Action shall be temporarily stayed pending

the entry of an order on all motions to dismiss directed at the pleadings filed in the

Securities Class Action; the stay shall remain in effect until the later of (a) the

entry of an order on the pending motions to dismiss the Securities Class Action or,

(b) to the extent the complaint in the Securities Class Action is amended, the entry

of an order on any motions to dismiss any such amended complaints in the

Securities Class Action (the “MTD Resolution Date”).

      5.     Plaintiffs’ and Defendants’ agreement to this stipulation shall not

prejudice in any respect their right to seek or oppose a further stay of this Action or

to move for or oppose a dismissal or stay in favor of other pending lawsuits or

transfer of venue, and Plaintiffs shall not assert that any delay by Defendants in




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pursuing a further stay or seeking transfer on account of this stipulation as a basis

for denying such relief upon the expiration of the stay contemplated herein.

      6.      Unless the parties agree otherwise, Plaintiffs shall have sixty (60)

days from the MTD Resolution Date to file an amended complaint in this Action or

otherwise designate an operative complaint. Any answer, motions to dismiss,

motions to transfer venue or other responses to the amended complaint (including

supporting briefs, if applicable) shall be filed within sixty (60) days after filing of

the amended complaint (or, in the event no amended complaint is filed during the

sixty-day period after the MTD Resolution Date, within sixty (60) days after

expiration of the time period for filing an amended complaint), with responses due

sixty (60) days after filing of any such motion and replies due thirty (30) days

thereafter.

      7.      In the event Plaintiff files an amended complaint while the stay is

pending, Defendants shall not be required to move, answer, plead, or otherwise

respond to any such amended complaint during the pendency of the stay.

      8.      Defendants shall promptly notify Plaintiff of the filing of any related

derivative actions.

      9.      Defendants shall promptly notify Plaintiff if a shareholder derivative

lawsuit asserting substantially similar claims against Match Group, Inc.’s directors




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based primarily on the same underlying factual allegations as this case (a “Related

Derivative Action”) is not stayed for a similar or longer duration than this action.

      10.    If Defendants produce documents or written discovery to plaintiffs in

any Related Derivative Action, the Securities Class Action, or pursuant to a books

and records demand that is primarily premised on the same underlying factual

allegations as this case, during the pendency of the stay, Defendants agree to

provide copies of such documents to Plaintiff, subject to execution of a mutually

agreeable confidentiality agreement.

      11.    Plaintiff has the option to terminate the stay if a related derivative

action is not stayed for a similar or longer duration by giving thirty (30) days’

notice via email to counsel for Defendants.

      12.    If the Parties in the Securities Class Action, or in any related

derivative actions, choose to pursue mediation or engage in formal settlement talks

during the pendency of this stay, Defendants agree to include Plaintiff in such

mediation or formal settlement talks.




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Dated: April 8, 2020

MORRIS, NICHOLS, ARSHT &                     RIGRODSKY & LONG, P.A.
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IT IS SO ORDERED

DATED: _________, 2020
                                     _________________________________
                                     HONORABLE COLM F. CONNOLLY
                                     UNITED STATES DISTRICT JUDGE




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